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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                    Plaintiff,                )                8:13CR233
                                              )
      vs.                                     )                  ORDER
                                              )
JASON ARMSTRONG and                           )
TAMIKA PAYNE,                                 )
                                              )
                    Defendants.               )

      This matter is before the court on the motion of defendant Tamika Payne (Payne)
to sever her trial on the Indictment from the trial of the co-defendant Jason Armstrong
(Armstrong) (Filing No. 24). Payne seeks severance on account of an incriminating
confession by Armstrong implicating Payne. Payne urges a joint trial would violate her
rights under the Confrontation Clause under Bruton v. United States, 391 U.S. 123
(1968). While redaction and limiting instructions pursuant to Richardson v. Marsh, 481
U.S. 200 (1987), and United States v. Edwards, 159 F.3d 1117 (8th Cir. 1998), may be
possible, the government concedes the motion (Filing No. 29). Accordingly, the motion to
sever will be granted.


      IT IS ORDERED:
      Payne’s motion to sever (Filing No. 24) is granted. The trial of the Indictment
against Payne shall be separate from the trial of co-defendant Armstrong.


             DATED this 9th day of October, 2013.


                                                  BY THE COURT:

                                                  s/ Thomas D. Thalken
                                                  United States Magistrate Judge
